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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES of AMERICA                                                                PLAINTIFF

       V.                              NO. 5:11-CR-50121-003

MANUEL HARO, Jr.                                                                     DEFENDANT

             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       Pursuant to the provisions of 28 U.S.C. § 636(b)(1) and (3), Local Rule 72.1 ¶ XII, and

General Order No. 40, this matter was referred to the undersigned for the purposes of conducting

a plea hearing pursuant to Rule 11 of the Federal Rules of Criminal Procedure. Such a hearing

was conducted on April 25, 2012, and, pursuant to a written plea agreement, the Defendant

entered a plea of guilty to Count 3.

       The plea agreement states that if it is accepted by the Court, once the Court has

pronounced sentence, the Government will move to dismiss Counts Two and the Forfeiture

Allegation of the Superseding Indictment.

       After conducting the hearing in the form and manner prescribed by Rule 11, the

undersigned finds:

       1.      The Defendant, after consultation with his counsel, has knowingly and voluntarily

consented, both in writing and on the record at the hearing, to the entry of his guilty plea before

the undersigned, with the plea being subject to final approval by United States District Judge

Jimm Larry Hendren.

       2.      The Defendant and the Government have entered into a written plea agreement

which has been disclosed in open court pursuant to Rule 11(c)(2), and the undersigned has

directed that the plea agreement be filed.
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        3.      The Defendant is fully competent and capable of entering an informed plea; the

Defendant is aware of the nature of the charges, the applicable maximum penalties, and the

consequences of the plea; the Defendant is fully satisfied with his counsel and has had sufficient

time to consult with him; and the plea of guilty is a knowing and voluntary plea supported by an

independent basis in fact containing each of the essential elements of the offense.

        4.      The Defendant understands his constitutional and statutory rights and wishes to

waive these rights.

        5.      The parties were informed, both in writing and on the record at the hearing, of

their right to file written objections within fourteen (14) days after receipt of this Report and

Recommendation. To expedite acceptance of the guilty plea, the parties waived, both on the

record and in writing, their right to file objections.

        Based on the foregoing, the undersigned recommends that the guilty plea be accepted and

that the written plea agreement be tentatively approved, subject to final approval at sentencing.



        IT IS SO ORDERED this April 25, 2012.




                                                /s/ J. Marschewski
                                                JAMES MARSCHEWSKI
                                                Chief United States Magistrate Judge
